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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF ILLINOIS
                                  EAST ST. LOUIS DIVISION

IN RE:                                           )             In Proceedings
                                                 )             Under Chapter 13
LEO TIGUE,                                       )
                                                 )             Bk No. 19-30460
           Debtor.                               )
                                                 )


                                                ORDER

           THIS MATTER is before the Court on Motion for Relief from Co-Debtor Stay filed by

Regions Bank. All objections having been withdrawn and the Court having considered the record

and determined that cause exists and that Regions Bank is otherwise entitled to the relief

requested in the Motion for Relief from Automatic Stay,

           IT IS ORDERED THAT Regions Bank’s request for relief from the co-debtor stay

imposed by 11 U.S.C. § 1301 is GRANTED and creditor may enforce its rights against the co-

borrowers, Veronica Tigue and Kurrin & Richards, Inc and that for such purpose the automatic

stay of 11 U.S.C. § 1301 is terminated.

           Counsel for the moving party shall serve a copy of this Order by mail to all interested

parties who were not served electronically.


ENTERED: November 1, 2019
                                                                /s/ William V. Altenberger
                                                 __________________________________________________________________________________________

                                                  UNITED STATES BANKRUPTCY JUDGE/7




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